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No. 15-6286 & 16-5116
IN THE UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

 

 

RODERICK ROBERTSON and
LETITIA ROBERTSON

Plaintiffs- Appellants
VS.

US BANK, N.A. AS TRUSTEE

FOR RESIDENTIAL ASSETS SECURITIES
CORPORATION, HOME EQUITY MORTGAGE
ASSET-BACKED PASS THROUGH CERTIFICATES
SERIES 2006-EMX3,

WILSON & ASSOCIATES, PLLC,

RESIDENTIAL ASSETS SECURITIES
CORPORATION, HOME EQUITY MORTGAGE
ASSET-BACKED PASS THROUGH CERTIFICATES
SERIES 2006-EMX3

Defendants-Appellees

 

CONSOLIDATED BRIEF OF THE APPELLANT

 

This matter is appealed from the United States District Court for the Western

District of Tennessee.
This Brief is filed by:

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CORPORATE DISCLOSURE STATEMENT
The appellant, Roderick Robertson and Letitia Robertson, are natural
persons and not corporate entities.

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REQUEST FOR ORAL ARGUMENT
The Robertsons request oral argument for this matter. The Court should
grant oral argument because the waiver of the right to exercise removal implicates
the limited jurisdiction of the federal district courts and the application of the

compulsory-counterclaim rule in the context of foreclosure should be resolved.

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STATEMENT OF JURISDICTION

The federal district court asserted federal question subject matter
jurisdiction of the federal claims at issue in this appeal pursuant to 28 USC §
1331 due to the presence of a TILA claim. (RE 16, Page ID#260, Order
and RE 32, ID# 438, Memorandum). The Appellants contest that the
district court had federal question subject matter jurisdiction.

This court has apparent appellate subject matter jurisdiction pursuant
to 28 USC § 1291 in light of the district court’s grant of summary judgment
in favor of US Bank. The district court’s order constitutes a final
appealable order. Union Oil Company v. Service Oil Company, Inc., 766
F.2d 224, 228 (6" Cir, 1985). However, in the event this Court determines
that the district court lacked subject matter jurisdiction, then this court also
lacks jurisdiction.

The district court’s judgment disposing of all the parties’ claims was
entered on October 20, 2015. RE 33, Page ID# 475. The notice of appeal
filed on November 17, 2015 is timely. RE 34, Page ID# 476. The
amended notice of appeal , RE 41, Page ID# 503-504, extends this Court’s
subject matter jurisdiction to the issue of whether US Bank’s failure to assert

a compulsory counter-claim extinguishes its rights to pursue any remedies.

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United States v. Universal Management Services, 191 F.3d 750, 757 (6" Cir.
1999),
STATEMENT OF ISSUES

1. The district court erred in failing to find that Wilson & Associates
waived the right to remove this case to the district court.

2. The district court erred in failing to remand this matter to state
court for violation of the rule of unanimity.

3. The district court failed to find that Alisha Mulder’s affidavit
was conclusory and contravened the legal requirements established by
Fambrough v. Walmart Stores, Inc., 2015 WL 2167612 (6" Cir. May 11,
2015), Dobrowiak v. Convenient Family Dentistry, Inc., 315 Fed. Appx.
580 (6" Cir. 2009) and United States v. Martin, 920 F.2d 393 (6" Cir. 1999),

4A, The district court erred in finding that Mulder’s affidavit was
sufficient to authenticate the documents it relied upon to grant summary
Judgment.

5. The district court erred in finding that the disclosures required by 15
USC §1641(g) are not material.

6. The district court erred in failing to find that the right of rescission
does not extend to claims arising under §1641(g)

7. The district court erred in finding that US Bank’s claims had not

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been extinguished by the compulsory-counterclaim rule.
STATEMENT OF THE CASE

This civil action arises out of a mortgage foreclosure action initiated
in state court.

On August 29, 2003, the Robertsons acquired their residence. RE 1-1,
Page ID# 23 (“Amended Complaint”).

On December 23, 2005, the Robertsons refinanced their residence.
RE 1-1, Page ID#, 23 (“Amended Complaint).

On July 16, 2012, Mortgage Electronic Registration Services, Inc.
purportedly assigned the Deed of Trust and Promissory Note to US Bank,
N.A. as Trustee or RASC 2006-EMX3. RE 1-1, Page ID#27 (“Amended
Complaint”), RE 32, Page ID#435 (“Memorandum”).

On July 9, 2014, the Robertsons transmitted a Notice of Rescisson
pursuant to 15 USC §1641(g) and 12 CFR § 226.39. RE 32, Page ID#436.

On August 8, 2014, the Robertson’s filed their First Amended

Complaint. DE 1-1, Page ID# 21(“Amended Complaint”)

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On August 15, 2014, Wilson & Associates, PLLC filed its Objection
to the Motion for Temporary Injunction’ in state court. RE 1-2, Page ID#
131-136(“Objection”).

On August 22, 2014, Wilson & Associates, PLLC filed its response
to the Robertsons’ Motion Deem Portions of their Verified Complaint
admitted in state court. RE 1-2, Page ID # 176-179 (“Response”).

On the morning of August 29, 2014, Wilson and Associates filed its
Verified Denial and an Answer in state court. RE 7-1, Page ID# 213-223
(“Verified Answer”)

Later the same day of August 29, 2014, the US Bank, N.A. invoked
the Court’s federal question jurisdiction and diversity jurisdiction and

removed the case here. RE 1, Page ID# 1-5 (“Notice of Removal”).
On September 4, 2014, US Bank filed its Answer but did not assert a
counter-claim. RE 4, Page ID# 192-199 (“Bank Answer”).

On September 9, 2014, Wilson & Associates, PLLC filed its consent

to removal. RE 16, Page ID # 259 (“Order”).

 

‘Wilson & Associates requested that the state court: (1) dissolve the
restraining order (2) deny the temporary injunction (3) find that Plaintiffs did
not have standing to challenge the assignments of the deed of trust,
securitization, or the application of the suspension order. RE 1-2, Page ID#

131-136
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On October 10, 2014, the district court denied the Robertson’s Motion
to Remand. RE 16, Page ID# 258-263 (“Order”).

On May 29, 2015, US Bank filed the affidavit of Alisha Mulder in
support of its motion for summary judgment. RE 24-1, Page ID# 258-263
(“Affidavit”). At no time, did Mulder state she was familiar with US
Bank’s, MERS’, EMAX Financial Group LLC’s, Mortgage Lender
Networks USA, Inc’s, or Residential Funding Corporation’ record keeping
practices. RE 24-1, Page ID# 258-263 (“Affidavit”). Mulder also does not
state that Wells Fargo’s record keeping practices establish incorporation of
third-party documents or that Wells Fargo relies upon these documents. RE
24-1, Page ID# 258-263 (“Affidavit”). Mulder also does not state that she
had knowledge of the transaction(s). RE 24-1, Page ID# 258-263

(“Affidavit”).

Mulder’s affidavit contains not documents to substantiate that (a) she
is an authorized signer (b) Ocwen is a servicer and (c) Wells Fargo is a sub-
servicer are all such as (a) a written authorization (b) servicing agreement
between Ocwen and US Bank and (c) sub-serving agreement between Wells

Fargo and Ocwen. RE 24-1, Page ID# 258-263 (“Affidavit”).

The district court granted US Bank’s motion for summary judgment
on October 20, 2015. RE 32-33, Page ID# 430-475 (“Memorandum and

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Order’).

On January 6, 2016, the district court denied US Bank’s motion to
compel the Robertsons to post supersedeas bond but declined to find that US
Bank’s claims had been extinguished by the compulsory counter-claim rule.
RE 40, Page ID# 500-502.

The Robertsons bring this matter here by notice of appeal filed on
November 17, 2015, RE 34, Page ID# 476, and amended notice of appeal
filed on January 31, 2016, RE 41, Page ID# 503-504.

SUMMARY OF THE ARGUMENT

The district court erred in exercising federal question removal
jurisdiction thus all orders should be vacated and this matter remanded to the
state court for further proceedings. The affidavit of Alishia Mulder fails to
meet the Sixth Circuit standards for affidavits in support of motions for
summary judgment and thus the affidavit should be stricken and the motion
for summary judgment denied. The district court erred in failing to find
that the specific TILA regulations regarding the right of rescission control
over general TILA regulations. Finally, the district court failed to find that

US Bank’s claims were extinguished by the compulsory counterclaim rule.

ARGUMENT

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A. Appellees waived the right to remove this matter from state court
to federal Court.

1. Standard of Review for Removal and Subject MatterJurisdiction?

In Sollitt v. KeyCorp, 09-4143 & 10-3408 (6" Cir, February 1, 2012).
the Court held that the standard of review for a district court’s removal and
subject matter jurisdiction determinations are de novo’. Removal statutes
are strictly construed. Id. All doubts are resolved in favor of remand. Jd.

2. Waiving the Right to Remove

In Chicago, RI. & P Ry. Co. v. Martin, 178 U.S. 245 (1900), the
United States Supreme Court held that the rule of unanimity applied to all
removal actions whether based on federal question or diversity. In Lofitis v.
United Parcel Service, Inc., 342 F.3d 509, 516 (6" Cir. 2003), the Sixth
Circuit Court of appeals held that all defendants must join in the petition to
remove or file their consent to the petition to remove. Removal rights lapse
thirty (30) days after the last-served defendant receives process. Brierly y.

Alusuissee Flexible Packaging, Inc., 184 F.3d 527, 532-34 (6" Cir. 1999),

 

* The de novo standard of review will apply to all issues tendered for review
to the Court.

3 In the general context, the Court reviews a district court’s conclusions of
law or legal standards de novo. Branham v. Thomas M. Cooley Law
School, 689 F.3d 558, 561-62 (6" Cir. 2012). The Court reviews the
district court’s application of law to fact de novo as well. Bowers v. Wynne,
615 F.3d 455, 457 (6" Cir. 2010).

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The rule was restated in 28 USC § 1446 (b)(2)(A). On the other hand, any
defendant’s waiver of the right to remove is binding on all. Westwood v.
Fronk, 177 F.Supp. 2d 536, 542-544 (N.D. WVa. 2001).

In Regis Assoc. v. Rank Hotels (Mgmt) Ltd., 894 F2d 193, 195 (6" Cir.
1990), the Sixth Circuit held that the right to remove can be waived. In
Aqualon v. MAC Equipment, Inc., 149 F.3d 262, 264 (4" Cir. 1998), the
Fourth Circuit held that substantial defensive actions taken prior to the filing
of the notice of removal can constitute waiver of the right to remove. In
Banks v. Housing Authority of DeKalb County, 2014 WL 3239165, Slip. Op.
at 2-3 (N.D.Ga. July 9, 2014), the Northern District of Georgia held that
when any defendant takes actions in state court that may result in disposition
on the merits either in whole or in part of a state court claim this constitutes
evidence of an intent to litigate on the merits in state court.

3. Wilson _& Associates PLLC’s August 15, 2014 Objection and other
pre-removal filings sought a disposition of some of the merits of Appellants
claim either in whole or in part

Applying the foregoing authority, this Court should find that Wilson
& Associates PLLC waived its rights to removal and this waiver became
binding upon US Bank, N.A. On August 15, 2014, Wilson & Associates

sought a dismissal of portions of the Plaintiffs claims. RE 1-2, Page ID#

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131-136 (“Objection”). The Objection went far beyond simply answering
the Complaint. RE 1-2, Page ID# 131-136 (“Objection”). Wilson &
Associates PLLC requested that the state court: (1) dissolve the August 8,
2014 restraining order (2) deny the temporary injunction that was set for
hearing on August 25, 2014 (3) find that Plaintiffs did not have standing to
challenge the assignments of the deed of trust’, securitization, or the
application of the suspension order. RE 1-2, Page ID# 131-136
(“Objection”). On August 22, 2014, Wilson & Associates contested
Plaintiff's requested findings that it had judicially admitted several portions
of the Plaintiffs complaint. RE 1-2, Page ID# 176-179 (“Objection”).
Finally, On August 29, 2014, Wilson & Associates filed a Verified Denial
requesting the Court find that its role was limited to trustee and thus it
should be dismissed from this civil action prior to US Bank, N.A. filing the
Notice of Removal. RE 7-1, Page ID# 213-223 (“Bank Answer’)

In sum, Wilson & Associates PLLC took substantial voluntary
defensive action in state court. This constituted a clear manifestation of
intent to remain in state court. Wilson & Associates pre-removal actions

waived its and US Bank’s right to remove.

 

‘This is a thinly disguised motion for failure to state a claim pursuant to
TRCP 12.02(6) for at least a portion of the Plaintiffs claims. TRCP
12.02(6) orders are dispositions on the merits pursuant to Tennessee law.
TRCP 41.02(2).

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Thus, the August 29, 2014 Notice of Removal was defective and the
September 5, 2014 Consent to Removal was defective. The district court
lacked federal question removal Jurisdiction and federal diversity removal
jurisdiction due to the Defendants defective removal procedure.
Accordingly, the Appellants request that this Court reverse the Order
Denying Remand, vacate all other rulings, reinstate the restraining order,
and remand this matter to the Chancery Court of Shelby County, Tennessee
for further proceedings.

B. Alisha Mulder’s Affidavit was insufficient to support
US Bank’s Summary Judgment Motion.

1. _ The Sixth Circuit Summary Judgement Evidence Standard

In Brainard v. American Akandia Life Assurance Corp. 432 F.3d 655,
667-668 (6" Cir. 2005), the Sixth Circuit articulated the standard currently
codified at Rule 56(c) that all motions for summary judgment must set forth
facts that would be admissible into evidence. A motion to strike should be
granted for inadmissible material supporting a summary judgment motion
and should be ruled upon before proceeding to consider a summary
judgment motion. /d. at 667; Moreover, all evidence is reviewed in the
light most favorable to the non-movant and all factual inferences are drawn

in favor of the non-moving party. Tolan v. Cotton, 134 S.Ct. 1861, 1865-68

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(2014). A court misapprehends summary judgment standards when it
attempts to credit or weigh testimony or other evidence in favor of the
movant. Tolan, 1867-68.

2. Sixth Circuit Standards for Rule 56 Affidavits

In Fambrough v. Wal-Mart Stores, Inc., 2015 WL 2167612 (6" Cir.

May 11, 2015), the Sixth Circuit Court of Appeals held that all the
requirements of 803(6) must be satisfied prior to admission of an entity’(s)
business records into evidence including: (a) must have been kept in the
course of regularly conducted business activity (b) must have been kept in
the regular course of the business in question (c) must have been the regular
practice of business to generate the document and (d) the document must
have been made by a person with knowledge of the transaction or from
information transmitted by the person. Importantly, when the business
attempts to incorporate documents prepared by third parties into their
business records it must lay a foundation with testimony of a witness with
first-hand knowledge of the record-keeping practices that establish
incorporation of third-party documents and reliance upon third-party
documents. /d. at 8

In Dobrowiak v. Convenient Family Dentistry , Inc., 315 Fed. Appx

580, 584 (6" Cir. 2009), the Sixth Circuit held that papers referred to in an

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affidavit must be attached to or served with the affidavit. Moreover, in
United States v. Martin, 920 F.2d 393, 397-98, n.3 (6" Cir, 1999), the Sixth
Circuit held that to prove the contents of a writing, recording, or photograph
requires production of the document.

3. Alisha Mulder’s Affidavit is conclusory and should be stricken

Applying the foregoing standards, Mulder’s affidavit is conclusory
and should be stricken. At no time, does Mulder state she is familiar with
US Bank’s, MERS’, EMAX Financial Group LLC’s, Mortgage Lender
Networks USA, Inc’s, or Residential Funding Corporation’ record keeping
practices. RE 24-1 Page ID# 258-263. Mulder also does not state that
Wells Fargo’s record keeping practices establish incorporation of third-party
documents or that Wells Fargo relies upon these documents. RE 24-1 Page
ID# 258-263 Mulder also does not state that she had knowledge of the

transaction(s). RE 24-1] Page ID# 258-263

Moreover, Mulder’s affidavit contains not documents to
substantiate that (a) she is an authorized signer (b) Ocwen is a servicer and
(c) Wells Fargo is a sub-servicer are all such as (a) a written authorization
(b) servicing agreement between Ocwen and US Bank and (c) sub-serving
agreement between Wells Fargo and Ocwen. RE 24-1 Page ID# 288-263.

Thus, Mulder’s affidavit fails under Rule 803(6). Appellants request this

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Court to reverse the district court order denying the Motion to Strike, RE 32,
Page ID# 442-43, strike the affidavit and exclude US Bank’s exhibits in
support of its summary judgment motion. In turn, the motion for summary
judgment should be denied.

C. 15 USC §1641(g) extends Assignee liability for rescission to
failure to disclose Assignment of the note or debt

l. Standard of Review for Construction of Statutes and Reeulations

 

In Gillie v. Jones, 783 F.3d 1091, 1098 (6" Cir. 2015), the Sixth

Circuit held that issues of statutory construction are reviewed de novo. In
Michigan Supervisors Office & Professional Employees Intern Union v.
Michigan Department of Corrections, 61 F.3d 904 (6" Cir. 1995), the Sixth
Circuit held that issues of regulatory construction are reviewed de novo.

2. _TILA Principles

In Marais v. Chase Home Finance LLC, 736 F.3d 711, 714 (6" cm
2013) and Begala v. PNC Bank, Ohio, 163 F.3d 948, 950 (1998), the Sixth
Circuit held TILA is liberally construed in favor of the consumer and
requires strict compliance by creditors. In Barrett v. JP Morgan Chase
Bank, 445 F.3d 874 (6" Cir. 2006), the Sixth Circuit Court of Appeals held
that the consumer retained the right to rescind the security instrument and

the underlying debt for failure to comply with TILA disclosure

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requirements. Assignees remain liable for rescission. Marais, Id. at 716.
15 USC § 1641(c)°. Disclosures also include post-assignment disclosures.
Marais, Id. at n.4.; Cenat vy. US Bank, N.A. 930 F.Supp. 2d 1347 (S.D.
Florida 2013).

In Wheeling-Pittsburgh Steel Corporation v. Mitsui, 221 F.3d 924,
927 (6" Cir. 2000), the Sixth Circuit Court of Appeals held that statues
dealing with the same subject should be interpreted in pari materia. In
Vision Processing, LLC v. Groves, 705 F.3d 551, 559 (6" Cir: 2013), the
Sixth Circuit held that a later statute operates as an implicit repeal of an
earlier statute to the extent of any irreconcilable conflict between the two
provisions. Accordingly, $1641(g) operates to repeal conflicting sections of
TILA.  $1641(g) specifically incorporates post-assignment transfers into
the TILA disclosure requirement structure and thus controls over conflicting
general provisions of the TILA statute. Hughes v. MeCarthy. 734 F.3d 473
(6" Cir. 2013). Furthermore, specific regulations control over general
regulations. Misewicz v. City of Memphis, 771 F.3d 332, 337-38 (6" Cir,
2014).

$1641(g) provides in material part that “In addition to any other

 

> Rescission is available in addition to damages. 15 USC § 1635(g)
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disclosures required by this subchapter, not later than 30 days after the date
on which the mortgage is sold or otherwise transferred or assigned to a third
party, the creditor that is the new owner or assignee of the debt shall notify
the borrower in writing of such transfer” 12 CFR § 226.39(d)(3)° provides
in material part that “ The disclosures required by this section shall identify
the loan that was sold, assigned, or otherwise transferred and state the
following. .... The name, address, and telephone number of an agent or party
authorized to receive the right to rescind and resolve issues concerning the
consumer’s payments on the loan” (emphasis supplied). Plain and
unambiguous regulations are construed as written. Jn re Arctic Express,
636 F.3d 781 (6 Cir. 2011). However, ambiguous TILA regulations,
Regulation Z, are liberally construed in favor of the consumer. DBI
Architects v. American Express Travel Related Services, 388 F.3d 886 (D.C.
2004) Thus, pursuant to the foregoing authority, a transaction is not
consummated pursuant to $1635(f) until the 30 day period to disclose the
very last assignment of the very last new assignee owner of the debt has
expired. Moreover, CTS Corporation v. Waldburger, 134 SCt 2175, 2183
(2014) establishes that statutes of repose such as §1635(f) run from the last

culpable act or omission. _In the context of a post-closing assignment, this

 

°12 CFR § 226.39 is a binding regulation. Household Credit Services v.
Pfenning, 541 US 232 (2004)

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would occur three years after the last assignment. Jesinoski v. Countrywide
Home Loans, 13-684 (United States Supreme Court January 13, 2015) holds
that TILA rescissions are operative upon the transmission of the notice.

3. Application of Standards

Applying the foregoing authority, the district court erred in finding
that the disclosures required by $1641(g) and § 226.39 did not constitute
material disclosures entitling Appellants to a right of rescission. RE32.
ID#459-466. $1641(g) and § 226.39 are specific statutory and regulatory
provisions dealing with the disclosure obligations of the new assignees and
specifically reference the right to rescind. Consistent with Misewicz, these
specific provisions control over any other general provisions. Moreover,
§1641(g) articulates a clear Congressional intent to render disclosures of
transfers material and thus any conflicting regulations and the Court’s
construction are erroneous. Chevron vy. National Resources Defense
Council, Inc., 467 US 837, 842, n.9 (1984); RL BB Acquistion LLC, vy.
Bridgemill Commons Development Group, LLC, 754 F.3d 380, 384 (6" Cir.
2014). The Robertsons exercised their rescission ri ghts timely. Pursuant to
Jesinoski, rescission became effective on July 9, 2014. Thus, this Court
should reverse the district court’s construction of §1641(g) and § 226.39 in

light of Sixth Circuit precedent and find that the rescission was effective.

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D.US Bank’s claims have been extinguished by the
compulsory counter-claim rule.

1. Standard of Review for Construction of Rules of Civil
Procedure.

In Hescott, v. City of Saginaw, 755 F.3d 518, 522 (6" Cir. 2014), the
Sixth Circuit held that the standard of review for legal interpretations of the
rules of civil procedure are reviewed de novo.

2. Breach of Contract is the Claim that underlies any foreclosure

 

proceeding

Non-judicial foreclosure or power of sale foreclosure is a
contractual remedy for breach of an underlying contract’. The underlying
breach of contract action constitutes a claim. See Tenn. Code Ann. §47-9-
601 (Analogous UCC provision clearly indicates the underlying breach or
default® constitutes a claim).

3. The Compulsory-counterclaim Rule standards and application to

case at bar

 

’ CitiMortgage v. Drake, 2013 WL 655914 (Tenn. Ct. App. February 21,
2013), Slip Op. at 7-8. The judicial remedies for breach of contract include
damages, specific performance, and restitution. Guesthouse International,
LLC v. Shoney’s North America Corp, 330 $.W.3d 166 (Tenn. Ct. App.
2009).

® Tenn. Code Ann. §47-9-609(b)(2) authorizes a creditor to seize collateral
without judicial process (“self-help”). This is analogous to non-judicial or
power of sale foreclosure.

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In Bluegrass Hosiery, Inc., v. Spiezman Industries, Inc., 214 F.3d
770, 772-773 (6" Cir. 2000), the Sixth Circuit Court of Appeals held that the
compulsory counterclaim rule applies when an Answer is served and the
counter-claim arises out of the same transaction as the claim. In Watkins
v. Simmons and Clark, Inc., 618 F.2d 398, n12 (6" Cir. 1980), the Sixth
Circuit followed the Fifth Circuit held that an alleged consumer default is a
compulsory counter-claim to a TILA claim.

In analogous circumstances, in Westoak Realty & Investment v.
Hernandez, 682 S.W.2d 120 (Mo. App. 1984), the Missouri Court of
Appeals held that a promissory noteholder’s claims were compulsory
counter-claims to a maker’s claim to enjoin or set aside a power of sale
foreclosure. Asa result, the noteholder’s claim that it was excused from
filing a compulsory counter-claim based on the breach of the underlying
promissory note due the availability of non-judicial foreclosure based on the
same promissory note was rejected by the court as “illogical”. Jd. at 122-
23.

US Bank’s rights to the underlying contract or promissory note were

extinguished by the operation of the compulsory counter-claim rule’ because

 

* See Western Décor Furnishings, Inc., v. Bank of America National Trust

and Savings Association, 91 Cal. App. 3d 293, n.6 (Cal. App. 4"" 1979)
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US Bank failed to assert a counter-claim in its answer, RE 4, Page ID# 192-
199, and a the Court has entered a final judgment on the matter, RE 33,
Page ID# 475 .

The mortgage or deed of trust securing the debt is a mere incident.
W.C. Early v. Williams, 186 S.W. 102 (Tenn. 1916). ‘The extinction of the
debt constitutes an extinction of the mortgage or deed of trust. Thus, this
Court should find that US Bank has no right to proceed with foreclosure or
any other contract remedy.

CONCLUSION
The Robertsons requests this Court reverse the order of remand,

vacate all other rulings, reinstate the restraining order, and remand this
matter to state court. In the alternative, this Court should reverse the grant
of summary judgment and find that the Robertsons’ exercise of their TILA
rescission rights was effective, F urthermore, US Bank’s rights have been
extinguished by the compulsory counter-claim rule.
/[S/ DRAYTON D. BERKLEY

CERTIFICATE OF COMPLIANCE

This brief complies with the type volume limitation and contains less

than 4,000.00 (3,945) words.

 

(Creditor cross-claim compulsory for Debtor claims based on same
transaction or series of transactions).

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Respectfully Submitted,

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CERTIFICATE OF SERVICE
The undersigned hereby certifies a copy of the foregoing has been
served upon counsel for the defendants in the U.S. Mail, first class postage

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This the 30" day of March 2016.
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DRAYTON D. BERKLEY, ESQ.

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ADDENDUM

DESIGNATION OF THE RECORD OF THE LOWER COURT

RE 1-1'° Page ID# 6-15
RE 1-1'' — Page ID#16-113
RE 1-2" — Page ID#_ 131-136
RE 1-2 — Page ID# 149-175
RE 7-1" Page ID# 213-223
RE 1” Page ID# 1-5

RE 4"° Page ID# 192-199
RE 5" Page ID# 200-201
RE 7'8 Page ID# 207-209
RE 12" ~— Page ID# 245-247
RE 15” Page ID# 254-257
RE 167! Page ID# 258-253

 

‘August 7, 2014

" August 8, 2014

* August 15, 2014

'S August 22, 2014

'* August 29, 2014
"August 29, 2014
'’September 5, 2014
September 9, 2014
'’September 13, 2014
September 29, 2014
October 6, 2014

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COMPLAINT

AMENDED COMPLAINT

OBJECTION

RESPONSE

VERIFIED ANSWER

NOTICE OF REMOVAL

US BANK ANSWER

CONSENT TO REMOVE

MOTION TO REMAND

SCHEDULING ORDER

REPLY REMAND

ORDER DENY REMAND

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RE 24”
RE 27”
RE 27-174
RE 32”
RE 33”°
RE 34°’
RE 36”
RE 39”
RE 40°°

RE 41"!

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MOTION FOR S.J.

RESPONSE TO MOTION

MOTION TO STRIKE

MEMORANDUM S.J.

JUDGMENT

NOTICE OF APPEAL

MOTION BOND

RESPONSE

ORDER DENYING BOND

AMENDED NOTICE

 

“October 10, 2014
“May 29, 2015
July 14, 2015
“July 14, 2015
October 20, 2015

*°October 20, 2015

“November 17, 2015
*’December 3; 2015

"December 30, 20
January 4, 2016
*'January 31,2016

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